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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

United States of America
Plaintiff(s),
VS. Case No.: 4:22-CR-115-CVE
Nicole Cox Criminal Information Sheet
Defendant(s).
Date: 5/26/2022 Interpreter: Yes O No
Magistrate Judge Jayne Deputy Stephanie Cope USPO J. Gregg
Date of Arrest: 5/26/2022 Arrested By: USMS &] Detention Requested by AUSA
Bail Recommendation: LJ Unsecured
Additional Conditions of Release:
Oa Ob. Om On Oo Op Ogq Or Os
Oc Od. Oe Of Og. Or (01, 02, 03, 04 05, 06,07)
Oh OF7 Of. Ou (O01, 02, 03, O04 05, O6 O7)
Ok (Oi, O ii, C iii) Ov (O01, 02, 03, O04 05, 0607, 08 O9, 0 10)
O.1 Ow (01, 02) O x. (other)

Defendant Requests Federal Public Defender/Ct. Appt. Counsel: EJ = Yes O No

Defendant's Attorney: Stephen-baymen- LC) FPD; cr. Appt; L] Ret Counsel
AUSA: _ David Nasar Wichae } Nolanal,
| Chins Nassar Pr

MINUTES:

i... ; © Sworn
Defendant appears in-persen for IA on: i ihaietnaiit J Information; © Complaint; © Petition; O Rule 5
Dyvideo with: (© Ret Counsel; 0 FPD; ct. Appt; © w/o Counsel

(Financial Affidavit received and FPD/CJA appointed; Present CI Not Present
ge name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:

Verified in open court

0) Corrected by interlineation to
to reflect Defendant’s true and correct name and all previous filings are amended by interlineation to reflect same.

OJ Unable to verify in open court: U.S. Atty. to verify & advise court; [ Defendant’s Attorney to verify & advise
court;

Waivers executed and filed: OJ of Indictment; 0) of Preliminary Exam; or Detention Hearing; OC of Rule 5 Hearings

OC Bond set for : Bond and conditions of release
executed 7

ee Motion for Detention and Detention Hearing filed in ee
Arraignment held and Defendant pleads Not Guilty; Court accepts plea; [4 Scheduling dates to be mailed to counsel

CJ Initial Appearance continued to: at a.m./p.m.
CJ Arraignment scheduled: at a.m./p.m.
CJ Detention Hearing scheduled: at a.m./p.m.
CJ Preliminary Exam scheduled: ee at a.m./p.m.

Defendant remanded to custody of U.S. Marshal: Pf Penang further proceeding; (O Pending release on bond for ieee
Mot. for Detention # oH © Granted; © Denied; CKitoot Mot. for Hearing # (o/) O Granted; O Denied; Moot

Additional Minutes:

Criminal Information Sheet CR-24 (11/2020)
